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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                              No. CR 05-00611 WHA
                                                                         11
United States District Court




                                                                                            Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                   ORDER RE FILING BY
                                                                         13                                                          DEFENDANT WILLIAM JULIAN
                                                                              DALE SCOTT HEINEMAN; KURT F.
                                                                         14   JOHNSON; THE DOREAN GROUP;
                                                                              WILLIAM JULIAN; FARREL J.
                                                                         15   LECOMPTE, JR.; SARA J. MAGOON; and
                                                                              CHARLES DEWEY TOBIAS,
                                                                         16                 Defendants.
                                                                         17                                                 /

                                                                         18          Defendant William Julian filed a pleading entitled “Constructive Notice And Demand
                                                                         19   For Abatement; Demand for Court of Record; Request For Stay of PROCEEDINGS; Affidavit
                                                                         20   of Truth.” Defendant Julian has not made an appearance or entered a plea in this criminal
                                                                         21   action. His requests therefore are premature and are DENIED without prejudice to being made
                                                                         22   again — to the extent they are meritorious — once he is in custody or released on bond.
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                                                                         24          IT IS SO ORDERED.
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                                                                         26   Dated: April 11, 2006
                                                                         27                                                     WILLIAM ALSUP
                                                                                                                                UNITED STATES DISTRICT JUDGE
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